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Sharon Cousineau
700 West Evergreen Boulevard
Vancouver, WA 98660
Phone: (360) 750-3789
Fax: (360) 750-3788
E-mail: sdcousineau@gmail.com
Attorneys for Plaintiff,
Tiffany Hopkins



                      UNITED STATES DISTRICT COURT
                            DISTRICT OF OREGON
                             PORTLAND DIVISION

TIFFANY HOPKINS,                                Case No. 3:18-cv-1960
              Plaintiff,                        COMPLAINT AND DEMAND
                                                FOR JURY TRIAL FOR
      v.                                        VIOLATIONS OF:
                                              1. Telephone Consumer Protection
CITIBANK, N.A.,                                  Act, 47 U.S.C. § 227 et seq.;
                                              2. OR. REV. STAT. 646.639 et seq..;
              Defendant.                         and
                                              3. Intrusion Upon Seclusion


               COMPLAINT AND DEMAND FOR JURY TRIAL
      Plaintiff, Tiffany Hopkins (“Plaintiff”), by and through her attorneys, alleges
the following against Citibank, N.A. (“Defendant”):
                               INTRODUCTION
      1.      Count I of Plaintiff’s Complaint is based upon the Telephone
Consumer Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute
that broadly regulates the use of automated telephone equipment. Among other
things, the TCPA prohibits certain unsolicited marketing calls, restricts the use of
automatic dialers or prerecorded messages, and delegates rulemaking authority to
the Federal Communications Commission (“FCC”).



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      2.      Count II of Plaintiff’s Complaint is based upon Oregon Fair Debt
Collection Practices Act (“OFDCPA”), ORS § 646.639 et seq., which prohibits debt
collectors from engaging in abusive, deceptive and unfair practices in connection
with the collection of consumer debts.
      3.      Count III of Plaintiff’s Complaint is based upon the Invasion of
Privacy - Intrusion upon Seclusion, as derived from § 652B of the Restatement
(Second) of Torts. § 652B prohibits an intentional intrusion, “physically or
otherwise, upon the solitude or seclusion of another or his private affairs or
concerns… that would be highly offensive to a reasonable person.”
                          JURISDICTION AND VENUE
      4.      Jurisdiction of this court arises under 47 U.S.C. § 227 et seq. and 28
U.S.C. § 1331.
      5.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial
part of the events or omissions giving rise to the claim occurred in this District.
Because Defendant transacts business here, personal jurisdiction is established.
                                     PARTIES
      6.      Plaintiff is a natural person residing in the Oregon City, Clackamas
County, Oregon.
      7.      Defendant is a banking institution and often issues credit cards to
consumers. Its principal place of business is located at 701 East 60th Street North,
Sioux Falls, South Dakota 57104.
      8.      Defendant is also one who enforces or attempts to enforce an
obligation that is owed or due to any commercial creditor, by a consumer as a result
of a consumer transaction. Thus, Defendant is a “debt collector” as defined by the
OFDCPA, OR. REV. STAT. § 646.639(g).




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      9.       Defendant acted through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers.
                           FACTUAL ALLEGATIONS
      10.      Defendant is attempting to collect on one or more alleged debts.
      11.      Plaintiff is a stay at home mother who lost her job a couple of years
ago when pregnant with her second child. Since then she has had to take care of her
children full time–one of which has a mental disability–and has struggled
financially.
      12.      Upon information and belief, Defendant was informed of Plaintiff’s
financial hardship.
      13.      In or around July 2018, Defendant began calling Plaintiff on her
cellular phone number ending in 5338.
      14.      Defendant called Plaintiff from the following numbers: (208) 882-
2207; (423) 467-6460; (816) 420-4632; (859) 795-2727; (859) 795-2731; (866)
322-4983; (877) 686-8723; (877) 689-8725.
      15.      Upon information and belief, Defendant and or its agents own and
operate the phone numbers.
      16.      On or about July 28, 2018, at 12:11 p.m., Plaintiff received a phone
call from (866) 322-4983 and spoke with a representative named Latesha.
      17.      During the call Plaintiff explained that she was going through a
financial hardship and did not have any money to make a payment at the time. She
also unequivocally revoked consent to be contacted any further.
      18.      Despite revoking consent Plaintiff continued to receive phone calls
from Defendant.




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      19.    On or about August 11, 2018, at 9:08 a.m., Plaintiff received a call
from (816) 420-4632 and once again unequivocally revoked consent to be contacted
on her cell phone any further.
      20.    Despite her second request, she continued to receive calls from
Defendant.
      21.    Between July 25, 2018 and October 9, 2018, Defendant willfully called
Plaintiff’s cell phone approximately seventy-five (75) times to annoy and harass
Plaintiff in the hopes that it could induce her to pay the debt.
      22.    Plaintiff would often receive multiple calls a day from Defendant,
indicating the use of an automatic telephone dialing system.
      23.    For example, on July 25, 2018, Defendant called Plaintiff three times.
      24.    Each time Plaintiff received a phone call from Defendant there was a
brief pause prior to speaking with a representative, further indicating the use of an
automatic telephone dialing system.
      25.    Upon information and belief, Defendant also left multiple pre-recorded
or artificial voice messages for Plaintiff.
      26.    Due to Defendant’s actions, Plaintiff has had the stresses of caring for
her disabled child exacerbated by the belligerent calls by Defendant.
      27.    Due to Defendant’s actions, Plaintiff has suffered emotional distress,
mental anguish-including sleepless nights, invasion of privacy, and actual damages.
                           FIRST CAUSE OF ACTION
                           TCPA, 47 U.S.C. § 227 et seq.
      28.    Plaintiff incorporates by reference paragraphs one (1) through twenty-
seven (27) of this Complaint as though fully stated herein.
      29.    Defendant violated the TCPA. Defendant’s violations include, but are
not limited to the following:
             a.     Within four years prior to the filing of this action, on multiple


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      occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which
      states in pertinent part, “It shall be unlawful for any person within the United
      States . . . to make any call (other than      a call made for emergency
      purposes or made with the prior express consent of the called party) using
      any automatic telephone dialing system or an artificial or prerecorded voice
      — to any telephone number assigned to a . . . cellular telephone service . . .
      or any service for which the called party is charged for the call.
              b.    Within four years prior to the filing of this action, on multiple
      occasions, Defendant willfully and/or knowingly contacted Plaintiff using an
      artificial prerecorded voice or an automatic telephone dialing system and as
      such, Defendant knowing and/or willfully violated the TCPA.
      30.    As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is
entitled to an award of five hundred dollars ($500.00) in statutory damages, for each
and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that
Defendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an
award of one thousand five hundred dollars ($1,500.00), for each and every
violation pursuant to 47 U.S.C. § 227(b)(3).
                         SECOND CAUSE OF ACTION
                   OFDCPA, OR. REV. STAT. § 646.639 et seq.
      31.    Plaintiff incorporates by reference paragraphs one (1) through twenty-
seven (27) of this Complaint as though fully stated herein.
      32.    Defendant violated the OFDCPA. Defendant’s violations include, but
are not limited to, the following:
             a.     Defendant violated OR. REV. STAT. § 646.639(2)(e) by
      “communicat[ing] with the debtor …. repeatedly or continuously or at times
      known to be inconvenient to that person with intent to harass or annoy the
      debtor ….”


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         33.   Defendant’s acts, as described above, were done intentionally with the
purpose of annoying or harassing the Plaintiff enough to pay the alleged debt she
could not afford.
         34.   As a result of the foregoing violations of the OFDCPA, Defendant is
liable to Plaintiff for actual damages or statutory damages, and attorneys’ fees and
costs.
                            THIRD CAUSE OF ACTION
                               Intrusion Upon Seclusion
         35.   Plaintiff incorporates by reference paragraphs one (1) through twenty-
seven (27) of this Complaint as though fully stated herein.
         36.   Restatement of the Law, Second, Torts, § 652(b) defines intrusion
upon seclusion as, “One who intentionally intrudes… upon the solitude or seclusion
of another, or his private affairs or concerns, is subject to liability to the other for
invasion of privacy, if the intrusion would be highly offensive to a reasonable
person.”
         37.   Defendant violated Plaintiff’s privacy. Defendant’s violations include,
but are not limited to, the following:
               a.     Defendant intentionally intruded, physically or otherwise, upon
         Plaintiff’s solitude and seclusion by engaging in harassing phone calls in an
         attempt to collect on an alleged debt despite numerous requests for the calls
         to cease.
               b.     The number and frequency of the telephone calls to Plaintiff by
         Defendant after multiple requests for the calls to cease constitute an intrusion
         on Plaintiff's privacy and solitude.
               c.     Defendant’s conduct would be highly offensive to a reasonable
         person as Plaintiff received calls that often interrupted Plaintiff’s work and
         sleep schedule.


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             d.     Defendant’s acts, as described above, were done intentionally
      with the purpose of coercing Plaintiff to pay the alleged debt.
      38.    As a result of Defendant’s violations of Plaintiff’s privacy, Defendant
is liable to Plaintiff for actual damages.
                               PRAYER OF RELIEF
WHEREFORE, Plaintiff Tiffany Hopkins, respectfully requests judgment be
entered against Defendant Citibank, N.A. for the following:
      39.    Statutory damages of $500.00 for each and every negligent violation
of the TCPA pursuant to 47 U.S.C. § (b)(3)(B);
      40.    Statutory damages of $1500.00 for each and every knowing and/or
willful violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(B) and 47 U.S.C. §
(b)(3)(C);
      41.    Actual damages pursuant to OFDCPA, OR. REV. STAT. § 646.641(1);
      42.    Statutory damages of $200.00 pursuant to the OFDCPA, OR. REV.
STAT. § 646.641(1);
      43.    Costs and reasonable attorneys’ fees pursuant to the OFDCPA, OR.
REV. STAT. § 646.641(2);
      44.    Awarding Plaintiff any pre-judgment and post-judgment interest as
may be allowed under the law; and
      45.    Any other relief that this Honorable Court deems appropriate.


      Respectfully submitted this 9th day of November 2018.

                                                   By:/s/ Sharon Cousineau .
                                                   Sharon Cousineau
                                                   Attorneys for Plaintiff,
                                                   Tiffany Hopkins




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